Case 1:19-cr-00561-LAP Document 367 Filed 09/09/21 Page 1 of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
No. 19-CR-561 (LAP)

-against-
No. 11-CV-691 (LAR)

STEVEN DONZITGER, ORDER

Defendant.

 

 

LORETTA A. PRESKA, Senior United States District Judge:

The Court is in receipt of Mr. Kuby’s letter of September
7, 2021, which requests expanded access to Mr. Donziger’s
sentencing via a “teleconferencing/videoconferencing link.”
(Dkt. no. 366 at 1.) Mr. Kuby’s request is GRANTED. Consistent
with the Coronavirus Aid, Relief, and Economic Security Act,
Pub. L. No. 116-136, § 15002(b) (1) (I), 134 Stat 281, 528 (2020),
the Court will open a listen-only telephone line so that
interested parties may access the proceedings remotely. Prior
to sentencing, the Court will enter an order with the relevant
information to the public docket.
SO ORDERED.

Dated: September 9, 2021
New York, New York

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LORETTA A. PRESKA Zc
Senior United States District Judge

 

 
